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AO 91 (Rev. 08/09) Criminal Complaint


                                     United States District Court
                                                                  for (he                                      ^^'30r~
                                                        Western District ofTexas


                  United States of America
                                V.

           Maciel BELMIRO (Defendant #1)
        Chellima RIBEIRO-Silva (Defendant #2)                          CASE NUMBER: EP:19-M -08729


                           Defendanl(s)


                                                        CRIMINAL COMPLAINT


         I, the complainant in thiscase, state (hat the following is true to the best of my knowledge and belief.
On or about the date(s) of                      09/28/2019                  in the county of               El Paso        in the

     Western           District of              Texas            , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. 371                                    Two or more persons conspire to commit any offense against the United
                                                 States, to defraud the United States, or any agency, in any manner or for any
                                                 purpose.




         This criminal complaint is based on these facts:




         S?f Continued on the attached sheet.



                                                                                                Complainant's signature

                                                                                       James Haines. HSl Special Agent
                                                                                                 Printed name and title


Sworn to before me and signed in my presence.


Date:             10/02/2019
                                                                                                   Judge's signature

City and state:                           El Paso. Texas                            Leon Schvdlower, U.S. Magistrate Judge
                                                                                                 Printed name and title



                                                             Oath Telephonically Swom
                                                             At H
                                                             Fed.R.Crim.R4'l(b)(2)(A)
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                                            AFFIDAVIT


On September 28, 2019, Maciel BELMIRO, from now on referred to as defendant #1, a citizen
and national of Brazil, was apprehended by United States Border Patrol (USB?) as he illegally
entered the United States approximately 1.46 miles west of the Paso Del Norte Port of Entry,
located in El Paso, Texas, in the Western District of Texas. Defendant #1 was accompanied by a
female, later identified as Chellima RIBEIRO-SILVA, from now on referred to as defendant #2,
also a citizen and national of Brazil. The defendants were accompanied by an infant, DOB:
XX/XX/2019 and claimed to be a family unit. The place where the defendants entered has not
been designated asa port ofentry by immigration officials and therefore, they were transported to
the Border Patrol Station for further processing.

At the USBP stationdefendant # 1 anddefendant # 2 presented USBP Agents withtheirlegitimate
Brazilian passports and presented an authentic Brazilian passport on behalf of the infant, which
listed both of their names as parents. It was later determined through interviews with defendant
#1 and #2 that the passport presented on behalfof infant was obtained through fraud in order for
USBP to release them into the United States.

On September 29,2019, Homeland Security Investigations (HSl) Special Agent (SA) Haines, HSI
SA Escobari and USBP Agent Morales interviewed defendant # 1 and defendant # 2 separately
and on two separate occasions. These interviews were conducted in Portuguese, interpreted by
Lionbridge language service interpreters.

Bothdefendants were advised of their Miranda rightsverbally and in writingand agreedto answer
questions without an attorney present. Both defendants were also advised verbally and inwnting
of the potential consequences of making false statements and presenting false information to
federal law enforcement officers under Title 18 USC 1001. Both defendants stated that they
understood these advisements.

Post Miranda interviews revealed defendant # 1 and defendant #2 conspired a plan to pose as a
family with the infant.

During questioning, defendant # 1 stated to agents he was not the infant's biological father.
Further, defendant # 1 stated that he has no relationship with defendant # 2, whom he originally
claimed was his wife. Defendant# 1 stated he and defendant # 2 were put togetherby a smuggler
they both hired in Brazil. According to defendant # 1, the smuggler charged them $10,000 USD
for smuggling fees. Defendant # 1 also stated he was required to pay $1,000 USD as a down
payment for the smuggling fees. Defendant # 1further stated that he previously knew the father
of defendant # 2.



Defendant # I stated that he met with defendant # 2, along with some of her family members, a
smuggler named "Ruben" and the infant atdefendant #2's house in Brazil on the day they left for
the U.S. Defendant # 1 also statedthat Ruben gave instructions to cross into the U.S. in front him
and the entire family of defendant # 2. Defendant # 1 then stated that he understood that the
biological mother ofthe infant would be staying back in Mexico ashe crossed the border and then
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would pick upinfant inthe U.S the following day. Defendant # 1stated he was going tocontinue
paying his smuggler after he find work in the U.S. Defendant # 1 told agents he did not know
where the mother of infant was currently located. Defendant # 1 stated that he was unemployed
and needed to come to the U.S. Defendant # 1 stated defendant # 2 gave him the passport for
infant to carry.

Defendant # 2 was questioned regarding her relationship todefendant #1 and the infant. Defendant
#2 claimed the infant was not the son of defendant #1, with whom she claimed to live with.
Defendant # 2 then claimed she had adopted the infant and her parents might have documents to
prove her claim. Defendant # 2 further claimed her parents were inthe United States because they
had been released by USBP the day before. After reviewing the 18 USC 1001 warning a second
time, defendant # 2 admitted shewasnotthemother of theinfant andidentified theinfant'smother
as "Pamela." Defendant # 2 also stated defendant # 1 knew about the scheme to cross the border
and enter the U.S. Defendant # 2 stated that she was not married to defendant # 1 as originally
stated to USBP and "Ruben" put them together to travel to the United States. Defendant # 2
admitted she entered the United States by claiming to be a family unit because she believed she
had a better chance of entering.

Because this Affidavit is being submitted for the limited purpose of establishing probable causeas
setforth herein, I have notincluded each andevery fact known to meconcerning thisinvestigation.


                       CRIMINAL AND IMMIGRATION HISTORY

Defendant #1 and defendant #2 do not have a previous criminal or immigration history.
